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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

JAVIER RODRIGUEZ,                                  §
and all others similarly situated under            §
29 U.S.C. § 216(b),                                §
Plaintiff,                                         §
                                                   §
v.                                                 §       Cause No. 3:18-CV-00088-E-BH
                                                   §
TARLAND, L.L.C.,                                   §
THOMAS MCGILL,                                     §
and TARA RUBSAMEN                                  §
Defendants.                                        §

            PLAINTIFF’S RESPONSE TO DEFENDANT TARA RUBSAMEN’S
                      MOTION FOR SUMMARY JUDGMENT

        COMES NOW Plaintiff, Javier Rodriguez (“Plaintiff”) and files this Response to the

Motion for Summary Judgment filed by Defendant, Tara Rubsamen (“Rubsamen”) (DE 48), and

would respectfully show the Court as follows:

                                          SUMMARY

1. Plaintiff file his complaint against Defendants Tarland, L.L.C. (“Tarland”), and Thomas

     McGill (“McGill”), alleging that Defendants committed overtime violations of the Fair Labor

     Standards Act, 29 U.S.C. §§ 201-216 (“FLSA”) on January 15, 2018. (DE 1).

2. Plaintiff’s First Amended Complaint was filed on June 13, adding Rubsamen as a defendant

     and alleging that Rubsamen too committed overtime violations of the FLSA. (DE 32).

3. Defendant Rubsamen’s current live pleading is Rubsamen’s Answer to the Amended

     Complaint, filed on July 17, 2019. (DE 36).

4. On September 30, 2019 Rubsamen filed a Motion for Summary Judgment and Brief in

     Support. (DE 48 and DE 49, with appendix, DE49-1).

5. The basis of Rubsamen’s Motion for Summary Judgment apparently is:

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                  a. Rubsamen did not have control over Tarland sufficient to be an

                     “employer,” as defined by the FLSA.

6. Under Federal Rule of Civil Procedure 56, Rubsamen is not entitled to summary judgment on

   this basis. There are genuine questions of material fact regarding whether or not Rubsamen’s

   involvement in, and control over the operation of the other Defendants was sufficient to

   make Rubsamen Plaintiff’s employer under the FLSA.

7. As provided by Local Rule 56.4(b), each of the required matters set forth in Local Rule

   56.4(a) will be set forth in the Brief in Support of Plaintiff’s Response to Rubsamen’s Motion

   for Summary Judgment filed in this case.

                                   Conclusion and Prayer

       For these reasons, Plaintiff respectfully requests that the Court deny Rubsamen’s Motion

for Summary Judgment in its entirety and grant Plaintiff all such other relief that the Court

deems just.




                                                    Respectfully submitted,

                                              By:   s/ Robert L. Manteuffel
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on all counsel
and parties of record by electronic service in accordance with the local rules of the United States
District Court for the Northern District of Texas, Dallas Division this 18th day of October, 2019.

                                             s/ Robert L. Manteuffel
                                             Robert L. Manteuffel
                                             Counsel for the Plaintiff(s)




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